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                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
FREDERICK DAVIS                        :
1970 Veterans Highway                  :
C15 East                               :    CIVIL ACTION
Levittown, PA 19056                    :
                                       :    No.
              Plaintiff,               :
        v.                             :
                                       :
THE ESTEE LAUDER COMPANIES, INC.:           JURY TRIAL DEMANDED
                             th
767 Fifth Avenue, GM Bdg, 38 Floor     :
New York, NY 10153                     :
        and                            :
NORTHTEC, LLC                          :
150 Rittenhouse Circle                 :
Bristol, PA 19007                      :
                                       :
              Defendants.              :
____________________________________:

                                     CIVIL ACTION COMPLAINT

        Frederick Davis, (hereinafter referred to as “Plaintiff,” unless indicated otherwise), by

and through his undersigned counsel, hereby avers as follows:

                                             INTRODUCTION

        1.       This action has been initiated by Plaintiff against The Estee Lauder Companies,

Inc. and Northtec, LLC (hereinafter collectively referred to as “Defendants”) for violations of the

Age Discrimination in Employment Act (“ADEA” - 29 U.S.C. §§ 621 et. seq.) and the

Pennsylvania Human Relations Commission (“PHRA”).1 Plaintiff asserts, inter alia, that he was

unlawfully discriminated against and terminated from his employment in violation of state and



1
  Plaintiff’s claims under the PHRA are referenced herein for notice purposes. He is required to wait 1 full year
before initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file his lawsuit in
advance of same because of the date of issuance of his federal right-to-sue-letter under the ADEA. Plaintiff’s PHRA
claims however will mirror identically his federal claims under the ADEA.


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federal law. As a direct consequence of Defendants’ unlawful actions, Plaintiff seeks damages as

set forth herein.

                                   JURISDICTION AND VENUE

        2.       This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and

seeks redress of such federal statutes.

        3.       This Court may properly maintain personal jurisdiction over Defendants because

their contacts with this State and this judicial district are sufficient for the exercise of jurisdiction

in order to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in International Shoe Co. v. Washington,

326 U.S. 310 (1945) and its progeny.

        4.       Pursuant to 28 U.S.C. §1391(b)(1) and (b)(2), venue is properly laid in this

district because a substantial part of the events or omissions giving rise to the claims set forth

herein occurred in this judicial district, in addition, venue is properly laid in this district because

Defendants are deemed to reside where they are subject to personal jurisdiction, rendering

Defendants residents of the Eastern District of Pennsylvania for this action.

                                               PARTIES

        5.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        6.       Plaintiff is an adult individual, with an address as set forth in the caption.

        7.       Defendant       The       Estee        Lauder     Companies,        Inc.         is   an

American multinational manufacturer and marketer of skincare, makeup, fragrance and hair care

products, based in Midtown Manhattan, New York City. Defendant The Estee Lauder




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Companies, Inc. owns a diverse portfolio of brands, distributed internationally through

both digital commerce and retail channels.

        8.       Defendant Northtec, LLC is upon information and belief owned by Defendant

The Estee Lauder Companies, Inc. and specifically produces perfumes and cosmetics for the

same at the above-captioned address.

        9.       Upon information and belief, because of their interrelation of operations, common

ownership or management, centralized control of labor relations, common financial controls, and

other factors, Defendants are sufficiently interrelated and integrated in their activities, labor

relations, ownership and management that they may be treated as a single and/or joint employer

for purposes of the instant action.

        10.      At all times relevant herein, Defendants acted by and through their agents,

servants and employees, each of whom acted at all times relevant herein in the course and scope

of their employment with and for Defendants.

                                    FACTUAL BACKGROUND

        11.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        12.      Plaintiff is a 56-year-old male.

        13.      Plaintiff was employed with Defendants for approximately 14 years.

        14.      Plaintiff was originally hired to work for Defendants as a Receiving Supervisor at

Defendants’ “200 Crossings” building and performed this job for approximately 13 years.

        15.      Throughout his employment with Defendants at the 200 Crossings building,

Plaintiff was a dedicated and hard-working employee who performed his job well.




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         16.      Plaintiff also received generally positive performance reviews throughout the

course of his employment at the 200 Crossings building. However, towards the end of his

employment with Defendants, Plaintiff observed Defendants’ management terminating and/or

pushing out older employees. Unfortunately, Plaintiff was no exception.

         17.      In or about January of 2020, Plaintiff was transferred from the 200 Crossings

Building to Defendants’ “300 Crossings” building. This transfer came shortly after Plaintiff

began observing the aforesaid age discrimination occurring within Defendants (not just as it

pertained to him but to other older employees as well).

         18.      For example, shortly before being transferred, Plaintiff was given a terrible

performance evaluation – which was completely unwarranted, discriminatory in nature and

presumably used as a means to push Plaintiff out because of his advanced age.

         19.      After receiving the aforesaid negative performance evaluation (disused supra),

Plaintiff had an altercation with a younger manager (in his 20s or 30s), Graham Hercock

(hereinafter “Hercock”).

         20.      Even though both Plaintiff and Hercock were guilty of losing their cool with one

another during the aforesaid altercation, Plaintiff was the one transferred to the 300 Crossings

building and replaced with a younger individual in his 20s.2

         21.      At or around the same time frame as the aforesaid altercation, Plaintiff made a

complaint to Defendants’ ethics hotline that he believed there was age discrimination occurring

within Defendants and that he was a victim of the same.




2
  Plaintiff does not include any facts herein regarding his negative performance evaluation or transfer to Defendants’
300 Crossings building in 2020 as a basis for any independent cause of action. Instead, Plaintiff includes such facts
for the purpose of establishing a history age discrimination and retaliation.



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          22.   Plaintiff’s aforesaid complaint of age discrimination was not taken seriously or

properly investigated. Instead, Plaintiff was informed by Executive Director of Human

Resources, Craig Shand, that there was no merit to Plaintiff’s claims and the matter was being

closed.

          23.   Over the next year, while working within Defendants’ 300 Crossings building,

Plaintiff was still considered a “Receiving Supervisor;” however, he was not performing the role

of a Receiving Supervisor.

          24.   Instead, while working at Defendants’ 300 Crossings building, Plaintiff was

placed on mid-shift, performing tedious tasks and training younger and newly hired supervisors

to perform all his previous job duties.

          25.   In addition to the foregoing, Plaintiff was also being advised by Defendants’

management on a constant basis to issue discipline to older employees (rather than younger

employees).

          26.   Plaintiff believed that the treatment he and others were receiving from

Defendants’ management (outlined in Paragraph 24 and 25 of the instant Civil Action

Complaint) was again motivated by age and because he had expressed concerns of age

discrimination (as to the treatment he was receiving specifically).

          27.   Therefore, on several occasions leading up to his ultimate termination from

Defendants, Plaintiff apprised Defendants’ management, including but not limited to his direct

supervisor at the 300 Crossings building - Christopher Galeone (20s-30s), of his aforesaid

concerns regarding age discrimination and retaliation on several occasions, but Plaintiff was

ignored.




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        28.      The hostile work environment continued and in or about September of 2020,

Plaintiff was placed on a 90-day Performance Improvement Plan (“PIP”), even though he had

received no write ups regarding his performance since the aforesaid negative performance review

that he was given while working at the 200 Crossings building (almost a year prior).

        29.      On the last day of the performance review period, Plaintiff was informed that he

had improved but due to a recent safety issue (wherein he did not say something to an employee

who was using a yellow safety knife on the receiving dock), he was being terminated from his

employment.

        30.      The aforesaid issue for which Plaintiff was allegedly terminated occurred three

weeks prior and based on Defendants’ past practices, Plaintiff believes that the reason for his

termination was completely pretextual and that Defendants were just using this as an excuse to

terminate him.

        31.       Plaintiff believes and therefore avers that he was really terminated from

Defendants in January of 2021 because of his advanced age and/or because he complained of age

discrimination.

                                            Count I
              Violations of the Age Discrimination in Employment Act “ADEA”_
                               (Age Discrimination & Retaliation)

        32.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        33.      Plaintiff properly exhausted his administrative remedies by filing with the Equal

Employment Opportunity Commission and initiating this lawsuit within 90 days of receipt of a

right-to-sue letter and/or notice of dismissal.




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       34.     Based on the foregoing, Plaintiff believes and therefore avers that he was

subjected to a hostile work environment, placed on a PIP, and ultimately terminated due to his

advanced age and/or because of his complaints of age discrimination (on multiple occasions in

advance of his termination).

       35.     These actions as aforesaid constitute violations of the ADEA.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay

increases, bonuses, insurance, benefits, training, promotions, reinstatement, and seniority.

       B.      Plaintiff is to be awarded liquidated damages, as permitted by applicable law, in

an amount believed by the Court or trier of fact to be appropriate to punish Defendants for their

willful, deliberate, malicious and outrageous conduct and to deter Defendants or other employers

from engaging in such misconduct in the future;

       C.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper, and appropriate (including but not limited to damages for emotional distress / pain and

suffering);

       D.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law; and

       E.      Plaintiff is to be given a jury trial as demanded in the caption of this Complaint.




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                                          Respectfully submitted,

                                          KARPF, KARPF & CERUTTI, P.C.


                                   By:    _______________________
                                          Ari R. Karpf, Esq.
                                          3331 Street Road
                                          Two Greenwood Square, Suite 128
                                          Bensalem, PA 19020
                                          (215) 639-0801
Dated: September 14, 2021




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VLNQLOMON
                            Case 2:21-cv-04083-JDW
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT    09/14/21 Page 10 of 11
                                                                       COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________
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Address of Defendant: ____________________________________________________________________________________________

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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

       VLNQLOMON
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


         VLNQLOMON
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                   Case 2:21-cv-04083-JDW Document 1 Filed 09/14/21 Page 11 of 11
JS 44 (Rev. 06/17)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
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    (b) County of Residence of First Listed Plaintiff               _ìÅâë                                    County of Residence of First Listed Defendant                 kÉï=vçêâ
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                     f
                                                                                                        (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3    Federal Question                                                                     PTF           DEF                                            PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                            of Business In This State

❒ 2    U.S. Government                 ’ 4 Diversity                                               Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                           (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                   Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                 Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY            ❒ 625 Drug Related Seizure               ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’ 310 Airplane                  ❒ 365 Personal Injury -            of Property 21 USC 881             ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’ 315 Airplane Product                Product Liability      ❒ 690 Other                                      28 USC 157                        3729(a))
❒   140 Negotiable Instrument               Liability                ❒ 367 Health Care/                                                                                      ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’ 320 Assault, Libel &                Pharmaceutical                                                      PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                 ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’ 330 Federal Employers’              Product Liability                                               ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted               Liability                ❒ 368 Asbestos Personal                                               ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’ 340 Marine                          Injury Product                                                         New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’ 345 Marine Product                  Liability                                                       ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                        LABOR                          SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’ 350 Motor Vehicle             ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards               ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’ 355 Motor Vehicle             ❒ 371 Truth in Lending               Act                              ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                     Product Liability         ❒ 380 Other Personal         ❒ 720 Labor/Management                   ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’ 360 Other Personal                  Property Damage                Relations                        ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                          Injury                    ❒ 385 Property Damage        ❒ 740 Railway Labor Act                  ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’ 362 Personal Injury -               Product Liability       ’ 751 Family and Medical                                                  ❒ 893 Environmental Matters
                                           Medical Malpractice                                            Leave Act                                                          ❒ 895 Freedom of Information
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS          ❒ 790 Other Labor Litigation               FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒ 440 Other Civil Rights          Habeas Corpus:             ❒ 791 Employee Retirement                ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒ 441 Voting                    ❒ 463 Alien Detainee                Income Security Act                      or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒ 442 Employment
                                     u                               ❒ 510 Motions to Vacate                                               ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒ 443 Housing/                        Sentence                                                               26 USC 7609                       Agency Decision
❒   245 Tort Product Liability             Accommodations            ❒ 530 General                                                                                           ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒ 445 Amer. w/Disabilities -    ❒ 535 Death Penalty                IMMIGRATION                                                                 State Statutes
                                           Employment                  Other:                     ❒ 462 Naturalization Application
                                     ❒ 446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                           Other                     ❒ 550 Civil Rights                 Actions
                                     ❒ 448 Education                 ❒ 555 Prison Condition
                                                                     ❒ 560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                           ❒   3    Remanded from             ❒ 4 Reinstated or        ’     5 Transferred from     ❒ 6 Multidistrict                  ❒ 8 Multidistrict
        Proceeding                State Court                       Appellate Court               Reopened                     Another District            Litigation -                    Litigation -
                                                                                                                            (specify)                      Transfer                        Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
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VI. CAUSE OF ACTION Brief description of cause:
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VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION                                               DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                     JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                                                                              DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
          VLNQLOMON
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                     JUDGE                               MAG. JUDGE

                  Print                                Save As...                                                                                                                   Reset
